Case 2:22-cv-01458-PA-MAA Document 1-2 Filed 03/03/22 Page 1 of 12 Page ID #:14




               Exhibit A
       Case 2:22-cv-01458-PA-MAA Document 1-2 Filed 03/03/22 Page 2 of 12 Page ID #:15
                                                                                   19S1CV17478


Electronictlly FILED by Superior Court of California, County of Los Angeles on 05/12/2021 12:16 PM Sherri R, Carter. Executive Officer/Clerk of Court. by V. Delgadino,Deputy Clerk


                                                                                                                                                             SUM.100
                                                                                                                                     macaw use ORLY
                                                       SUMMONS                                                                  (SOLOPAM WO DP LA COATE)
                                 (CITACION JUDICIAL)
                NOTICE TO DEFENDANT:
              (AVIS°AL DEMANDADO):
               EVENFLO COMPANY,INC.,a corporation;DOES 1 to 100,inclusive;
              (See "ADDITIONAL PARTIES ATTACHMENT")
              YOU ARE BEING SUED BY PLAINTIFF:
              (LO ESTA DEMANDANDO EL DEMANDANTE):
                TRITIA TURNER,as Guardian Ad Litem ofDALASIA ROBERTSON,
                a minor    -
                 NOTICE!You have been sued.The court may decide against you without your being heard union you respond within 30 days. Read the Intonation
                 below.
                    You have 50 CALENOAR DAYS after WS BUN:MOM and legal papers are sewed on you to Ito a valltall response at this court and have a copy
                 served on the plaintiff. A letter or phan.oil w13 not protect you.Your written response must be in proper;egad form if you want the court to hear your
                 caw.There may be a courtfonn that you can use for your response. You am find these court forms and mom Information at the California Courts
                 Online BeN-Hetp Center(www.courtinfo.os.gostelfhalp), your county law library, or the courthouse nearest you. If you cannot pay the Sting fee, ash
                 the court clerk fore fee waiver form. If you do not filo your response on tine, you may lose the case by dated,and your wages, money,and property
                 may be taken wttivrutfurther waning from the court
                     There are other legal requiromonts.You may want to call an attorney right away. If you do not know art attorney, you nary want to call an attorney
                 referral servloo. If you cannot afford an attorney, you may ho eligible for free legal servicesfrom a nonprofit legal services program.You can locate
                 Mesa nonprofit groups at the California Legal Services Web silo(wwwiewhelpcadfornia.arg),the California Courts Online Self-Hetp Center
                (www.courtInfo.cagovisellhalp),or by contacting your tool court or county bar assodallon.Hare The court has a statutory Ben for waived fees and
                 costs on any settlement or arbitration award of $10,000 or mare In a civil case. The courts lien must be paid Wore the court will dismiss the case.
                 rAVISOILo bon demanded,. Si no =panda dentro de SO &as,to cute pixdo dectdir en cu contra sin oscuchat au veisidn. Loa to infonnacion a
                 contlnuacidn.
                    77one 30 CMS DE CALSIDAR10 daspuds do qua to entroguen esta Ubaldo ypapules legatos pans prosentar one raspuesto per escrito on cola
                 coda y Moor quo so entrogue Una copta a/ dentandante. Una caste a rasa Nomads Wok:Infos no fojnotogan. Su r orresta por eSaff0 done quo aster
                 on tomato legal=recto sldesea quo pima= su case on to corfo. Esposlefo qua Iraya en formulado qua usled puede use:pare su respuesta
                 Puedo encontrur Woe Fornadados data cede y mass Infarnacidn an al Centro do Ayudo do las Cones do California(www.aucorto.cagov), en to
                 LW/Note= do(eyes do SU condorlo o ante auto quo to quede mdscam S/no puodo pagz,rta mote de presenter-14n, pida al socrotarto do to code
                 quo(odd un to:malaria do wrend5n de pogo do cuotas. SI no prosonbr su respuosta a thaw°,pueda pardor caso parIncurnpilmleng y la sorb to
                 padra qultorsu suoldo, dinere y Dienes sin mds advettendo.
                   Hoy trims requisitos legatos. Es mcomondablo quo llama arm abogado homage:nada S/no conoce a un abogetto, puede termite tm servicio do
                 romisIdn a abogados. Sino puede pagaro unabogado.as posIblo quo canals con(as mulattos para obtener sorvicloslegatos goatees do on
                 programa do sorvidos regales sin Ones doluau. Purge encontrar estos grupos sin Enos de taxmen elsilo web do California Legal Services,
                (www.lawhelpatilfornia.org),en of Centro do Ayuda de las Codos do California, rVnwr.sucorto.cagov)e ponfrIndaso en contact° con to caste oat
                 cote& do abogados locales. AVIS&Portoy,la cute Sane derocho a redamarlas cuatas yips coslos ezentos par Importer un gravamen sabre
                 cualquler mcuperoclon do $I0,0006Inds de valor recalda mediante tar actxrdo o tura concosidn do arbftreje on un caso do daracho skit llone quo
                 pager olgrovernen dote code ants do quo to code puede desochar el also.
                The name and address ofthe cowl Is:                                                                    0Ase NUMBER
              (Elnombra y cUreccian dole code es):                                                                     imkn"*"'"* 19STCV17476
                LOS ANGELES SUPERIOR COURT - Stanley Mask Courthouse
                111 N.Hill Street,Los Angeles,California 90012,
                The name,address,and telephone number of plaintiffs attorney, or plaintiff without an attorney, Is:
               (Elnombre,Ia dlrecdbn ye!amen"de telefono del abogado de)dernandente, o del demandante qua no Ilene abogado, es):
                Pejman Rahnama,Esq.- SBN 176504, 11801 W. Washington Blvd.,LA.,CA 90066,Tel 310-313-3250
                                                               Sherri R. Carter Executive Officer/ Clerk of Court
                DATE:                                                           Clerk, by                                                                     ,Deputy
               (Facile) 05/12/2021                                              (Sedetarto)             V. Deloclillo                                          (Acgunto)
              (For Roofofservice ofthis summons. use Proof of Service of Summons(form POS-010).)
              (Para prueba de enbega de este dtatldn use elformularlo Proof of Service ofStmunons,(P05410)).
                                             NOTICE TO THE PERSON SERVED:You are served
                                            1.1=1 as an Individual defendant
                                            2.ED as the person sued under the fictitious name of(speclly):

                                                     3, DID.on behalf of(specify):          Evenflo Company, Inc., a corporation
                                                      under: 1:,70 CCP 416.10(corporation)                              rj
                                                                                                          CCP 416.60(minor)
                                                             ED CCP 41620(defunct corporation)         ED CCP 416.70(conservatee)
                                                             CD CCP 416.40(association or partnership) E3 CCP 416.90(out/lofted person)
                                                             CD other (ePeofil):
                                                    4.ED by personal delivery on (data):
                                                                                                                                                                 P.m I est.,
                 Ran Adogrod tot Mandrikry Use                                       SUMMONS                                                Coda calve Pwadn 5 41220,daS
                  Otitis'Card al Odeon*                                                                                                                  voncoualkab.CaPer
                  WWI00 CR"J44 I, 20001
Case 2:22-cv-01458-PA-MAA Document 1-2 Filed 03/03/22 Page 3 of 12 Page ID #:16



                                                                                                                             SUM-200(A


1._   SHORT TITLE.:
      TURNER.V.EVENFLO

                                                           INSTRUCTIONS FOR USE
                                                                                                CASETIUMBER:




        Thts form may be used as an attachment to any summons If apace does not permitthe listing of all parties on the summons.
                                                                                                                                            1
        Ifthis attachment is used, Insert the following statement In the plaintiff or defendant box on the summons:"Additional Parties
        Attachment form is attached."

      List additional parties(Check only one box. Use a separate page for each type ofpetty.):

       E] Plaintiff          El Defendant 0Cross-Complalnant                ri Cross-Defendant
      CENJAY CLARENCE DAVIS,an individual
      NEAL LAVENORA,an individual
      FORD MOTOR COMPANY,a corporation
      EVENFLO FEEDING,INC.,a corporation
      GARCO,a corporation




                                                                                                                     Page    g" of
                                                                                                                                         ea,90+04-.
   Form Adopted for Mandatory Use
     Judicial Council of Cagorcia
                                               ADDMONAL PARTIES AlTACHMENT
  SUM.200(A)See.Jemmy 1.2Xin                        Attachmentto Summons
      Case 2:22-cv-01458-PA-MAA Document 1-2 Filed 03/03/22 Page 4 of 12 Page ID #:17
                                      19STCV17476
                              Assigned for all purposes to: Spring Street Courthouse, Judicial Officer: Stephen Goorvitch



Electronically FILED by Superior Court of California, County of Los Angeles on 05/20/2019 03:45 PM Sherri R. Carter, Executive Officer/Clerk of Court, by M. Barel,Deputy Clerk


  ATTORNEY OR PARTY WITHOUT ATTORNEY (Narre. Slate Bar number. and address):                                                    FOR COURT USE ONLY
-PEJMAN RAHi'iAMA, ESQ. (SBN: 176504)
  LAW OFFICES OF PEYMAN & RAHNAMA
   11801 W. WASHINGTON BOULEVARD
  LOS ANGELES. CALIFORNIA 90066
                        '(310) 313-3250
              TELEPHONENO                  FAXNO.(Op/ii:mal}: (310) 572-7581
                         TONY@PEYMANRAHNAMA. COM
  E-MAIL AODRESS(Oplionel}:

   ATTORNEY FOR /Name}: PLAINTIFFS

 SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
       STREEf ADDRESS 111 N. HILL STREET

       MAILINGAODRESS 111 N. HILL STREET
      CITYANOZIPCODE: LOS ANGELES, CALIFORNIA 90012

   ~      BRANCH NAME STAI\TLEY MOSK COURTHOUSE

           PLAINTIFF: nu UA l UKNcK, as vuaraian AO LI tern
                         of DALASIA ROBERTSON, a minor
         DEFENDANT: EVENFLO COMPANY, INC., a corporation;
                         See "ADDITIONAL PARTIES ATTACHMENTu
 @ DOES 1 TO l         00        INCLUSIVE
 COMPLAINT-Personal Injury, Property Damage, Wrongful Death
     0 AMENDED (Number}:
 Type (check all that apply):
 @ MOTOR VEHICLE . @ OTHER (specify): Product Liability
          D       Property Damage            D      Wrongful Death                               .
          I ~ I Personal Injury              @      Other Damages (specify):          All available
 Jurisdiction (check all that apply):                                                                              CASE NUMBER:
 0    ACTION IS A LIMITED CIVIL CASE
      Amount demanded                   D
                                   does not exceed $10,000
                                        D
                                   exceeds $10,000, but does not exceed $25,000
 [ ~ ACTION IS AN UNLIMITED CIVIL CASE (exceeds $25,000)
 0 ACTION IS R.ECLASSIFIED by this amended complaint
          D       from limited to unlimited
          D       from unlimited to limited
1_ Plaintiff (name ornamesJ: TRITIA TURNER, as as Guardian Ad Litem                                      ofDALASIAROBERTSON, a minor
        s causes of action against defendant (name or names):
          endants and each of them.
2. This pleading, including attachments and exhibits, consists of the following number of pages:
3. Each plaintiff named above is a competent adult                   .
   a, @     except plaintiff (name): DALASIA ROBERTSON
            (1)        D
                      a corporation qualified to do business in California
            (2)        D
                      an unincorporated entity (describe):
            (3}        D
                      a public entity (describe):
            (4) [ ~ a mi.nor             D
                                       an adult
                      (a) 0      for whom a guardian or conservator of the estate or a guardian ad !item has been appointed
                      (b)           D
                                 other (specify):
            (5}        D
                      other (specify):
     b.   D      except plaintiff (name):
                 ( 1)  CJ a corporation qualified to do business in California
                 (2)   CJ an unincorporated entity (describe):
                 (3)   D  a public entity (describe):
                 (4) D    a minor D        an adult
                          (a)       D for whom a guardian or conservator of the estate or a guardian ad !item has been appointed
                          (b)       CJother (specify):
                 (5)   D  other (specify):

   D Information about additional plaintiffs who are not competent adults is shown in Attachment 3,                                                             Page 1 ot3
 F~~Cf'Jrg:~;~~~t!f;:,~~se                  COMPLAINT-Personal Injury,· Property                                                          Code of Civil Procedure, § 425, 12
                                                                                                                                                      www,courtinfo,ca.gov
PLD-Pl-001 [Rev. January 1, 2007]                                Damage, Wrongful Death
     Case 2:22-cv-01458-PA-MAA Document 1-2 Filed 03/03/22 Page 5 of 12 Page ID #:18




b
SHoRTTITI£
 TURNER V. EVENFLO
                            .


                                                     INSTRUCllONS FOR USE
+ This fonn may be used as an attachment to any summons if space doeg not permit the listing of all patties on the summol'I$.
+ If this attachment is used. Insert the folfoWing statement in the plaintiff or defendant boX on 1he summons: "Additional Parties
   Attachment form IS attached.,.

List additional parties (Checlconlyons bor.. Use a sepe,als page for each type ofpany.}:

 0 P1atrdif . . @ Defendant O .Cross-Complainant                        O     Cro$&-Oefendant
CENJAY CLARENCE DAVIS. an individual
NEAL LAVENORA. an individual
FORD MOfOR COMPANY. a corporation
EVENFLO FEEDING, INC., a corporation
0ARCO, a corporation




                                                                                                                 Page _ o f _
                                                                                                                          !'!Pt Qft
                                          ADOfflONAL PARTIES ATTACHMENT
                                                    Attatllmentto Complaint
       Case 2:22-cv-01458-PA-MAA Document 1-2 Filed 03/03/22 Page 6 of 12 Page ID #:19




                                                                                                                                PLD-Pl-001
     SHORTTlnE:                                                                                       CASE NUMBER:

     TURNER V. EVENFLO

4.    D      Plaintiff (name):
             is doing business under the fictitious name (specify):

        and has complied with the fictitious business name laws.
5. Each defendant named above is a naturaJJ1erson
   a. @ except defendant (name): DOES 1 TO 50                                c.   D   except defendant (name):
           (1) @ a business organization, form unknown                                (1)   D  a business organization, form unknown
           (2)         D
                    a corporation                                                     (2)   D  a corporation                             •
           (3) D an unincorporated entity (describe):                                 (3)   D  an unincorporated entity (describe):

                 (4)   D        a public entity (describe):                           (4)   D   a public entity (describe):

                 (5)   D        other (specify):                                      (5)   D   other (specify):

                                                                                               Evenflo Feeding, Inc.
                                                                                               Garco
      b. @       except defendant (name):          Ford Motor Company        d.   0   except defendant (name): Evenflo Company, Inc.
                 (1)   D        a business organization, form unknown                 (1)   D   a business organization, form unknown
                 (2)   @        a corporation                                         (2) @     a corporation
                 (3)   D        an unincorporated entity (describe):                  (3)   D   an unincorporated entity (describe):

                 (4)   D        a public entity (describe):                           {4}   D   a public entity (describe):

                 (5)   D        other (specify):                                      (5)   D   other (specify):


      @       Information about additional defendants who are not natural persons is contained in Attachment 5.
6.     The true names of defendants sued as Does are unknown to plaintiff.
       a. @ Doe defendants (specify Doe numbers): 1 - 1OO                            were the agents or employees of other
                named defendants and acted within the scope of that agency or employment
       b. @       Doe defendants (specify Doe numbers): 1 • l OO                         are persons whose capacities are unknown to
                  plaintiff.
7.     D       Defendants who are joined under Code of Civil Procedure section 382 are (names):




8.     This court is the proper court because
       a. D at least one defendant now resides in its jurisdictional area.
       b. D the principal place of business of a defendant corporation or unincorporated association is in its jurisdictional area.
       c. @ injury to person or damage to personal property occurred in its jurisdictional area.
       d. D other (specify):




9.     D        Plaintiff is required to comply with a claims statute, and
        a.   D      has complied with applicable claims statutes, or
        b.   D      is excused from complying because (specify):




PLD-Pl-001 [Rev. January 1, 2007!. ,,                   COMPLAINT-Personal Injury, Property                                             Page2of3
                                                             Damage, Wrongful Death
           Case 2:22-cv-01458-PA-MAA Document 1-2 Filed 03/03/22 Page 7 of 12 Page ID #:20




1=r=  TURNER V. BVENFLO

 4.   D        Plaintiff (name):
               Is doing business under the fictitious name (specily):

         and has complied with the ficliUous business name laws.
 5. Each defendant named above Is a natura~
. a. [2J except defendant {IIBlll8): DOES I 10 SO                            c.   D   except defendant (name;:
                  (1)   Ci!] a business organization, fonn unknown                    (1)   D  a business organization, fonn unknown
                  (2)   D         a corporation                                       (2) CJ a corporation .
                  ca> D           an uruncorp>rated enttty CdesctibeJ:                (3)   D  an unincorporated entity (desctibe):

                  (4)   D     a public entity (desaibe):                              (4)   D    a public entity (describe}:

                  (5)   D     other (specl(y):                                        cs> D      other (speclfyJ:
                                                                                                                    Evenflo Feeding, Inc.
                                                                                                                    Garco
      b.    [Z] except defendant (name): Ford Motor Company d. @                      except defendant (name}:      Eventlo Company, Inc.
                  (1)   D     a business organization, fonn unknown                   (1)   D    a business organization,· form unknown
                  (2) @       a corporation                                           (2)   [Z] a corporation
                  (3)   D     an unincorporated entity (d«rl:libe):                   (3)   D    an unincorporated entity (desclibe):

                  (4)   D     a public entity (describe):                             (4)   D    a public entity (describe):

                  <5> D       other (specifyJ:                                        (5)   D    other (specify):


      @        Information about additional defendants who are-not natwal-pelSORS is cordained inAtlachment 5.
6.         The true names of defendants sued as Does are unknown to plaintiff.
           a. @- Doe defendanls. (spedfy Doe numbels): l - 100                           wem Uta agents or employees.of other
                    named defendants and acted within the scope of that agency or employment
       b.     [2] Doe defendants (specify Doe numbers): 1 - 1OO                                 are persons whose capacities are unknown to
                    plaintiff'.
7.     D        Defendams who are joined under Code of Civil Procedure section 382 are (names):




8.     This court is the proper court because
       a  D at feast one defendant now resides in its_iurisdic:tiona area.
       b.     D 1he principal place of business of a defendant corporation or unlncorporatsd association Is In 11s jurisdictional area.
       c. @ injury1D person or damage to personal properf¥ occurred In 11s jurisdlctional area.
       d. CJ other (specify):




9.     D        Plaintiff is requfred to comply with a claims statute, and
       e.     D     has complied with appficable claims statutes, or
       b.     D     is excusect rrom comp1y1ng because (specify):




                                                      ·COMPLAINT-Personal Injury, Property
                                                           n o - W~ ■I l'\Aafh
        Case 2:22-cv-01458-PA-MAA Document 1-2 Filed 03/03/22 Page 8 of 12 Page ID #:21



                                                                                                                                      PLD-Pl..001
. , SHORT TITlEc
    TURNER V. EVENFLO

  10. The foDowing causes of action are attached and the statements above apply to each (each complaint must have one or more
      causes of action attached):
      a. [Z] Motor Vehfcle
      b. @ General Negligence
      e. D Intentional Tort
      d. 0    Products Liability
      e.      D
              Premises Liability
      f. D Other (specify):




  11. Plaintiff has suffered
      a. @ wage loss
      b. D loss of use of property
      c. 0       hospital and medical expenses
      d. @ general damage
      e. D property damage
      f. [2] loss of earning capacity

         g. 0         1'if1RElAfEt'rfAMAOE.S ALLOWED BYLAW.

  12.   D        The damages claimed for wrongful death and the relationships of plaintiff to the deceased are
         a.   D     listed in Attachment 12.
         b.   D     as follows:




  13. The relief sought in this complaint is within the jurisdiction of this court



  14. Plaintiff prays for judgment for costs of suit; for such relief as is fair. just, and equitable; and for
      a. (1) [ZI cqmpensatory damages
          (2) D punitive damages
          The amount of damages is (in cases for personal injury or wrongful death, you must check (1)):
          (1) @ according to proof
          (2) D in the amount of: $
  15.   D       The paragraphs of this complaint alleged on information and belief are as follows (specify paragraph fltlmbers):




  Date:    May 19, 2019
  PEJMANRAHNAMA, ESQ.
                                                                              ►               (SIGNATURE Of PLAINTIFF 00 ATTORNe.Y)

  PLO,Pl.001 ~ev. Januaiy 1, 2007)                COMPLAINT-Personal Injury, Property
                                                      Damage, Wrongful Death
        Case 2:22-cv-01458-PA-MAA Document 1-2 Filed 03/03/22 Page 9 of 12 Page ID #:22




I
                                                                                                                                      PLD-Pl-001 (1)
SHORT TITLE:
TURNER V. EVENFLO

       FJRST                                       CAUSE OF ACTION-Motor Vehicle
                        (number)
       ATTACHMENT TO @                   Complaint    O       Cross - Complaint

       (Use a separate cause of action form for each cause of action.)
       Plaintiff (name):       Plaintiff
       MV- 1. Plaintiff alleges the acts of defendants were negligent the acts were the legal (proximate) cause of injuries
              and damages to plaintiff; the acts occurred
              on (date): November 17, 2016
                 at(place):

                  Intersection of Grand Avenue at I 08th Street, Los Angeles, CA 90061



       MV- 2. DEFENDANTS
              a. tZJ The defendants who operated a motor vehicle are (names):
                                CENJAY CLARENCE DAVIS, an individual
                               0             1                 to 10          ~ Does 51 to 60
                   b. @
                                       Does
                                            -----                  -----'~=
                                The defendants who employed the persons who operated a motor vehicle in the course of their employment
                                are (names):


                                @      Does    _1_ _ _ __ to 10                 v- -  ""'~!      Does 51 to 60
                  c. @
                                                                   ------
                                The defendants who owned the motor vehicle which was operated with their permission are (names):
                                NEAL LAVENORA, an individual, and                       .. .,\
                                [ZI Does       1                   to    10          ~ Does 51 to 60
                  d. @          The defendants who entrusted the motor vehicle are (names):


                                @      Does    1                    to   10         ~            Does 51 to 60
                  e. @          The defendants who were the agents and employees of the other defendants and acted within the scope
                                of the agency were (nBmes):



                   f.    D
                               @       eoes I                       to   10
                                                                         ------      ~           Does51 to 60
                                The defendants who are liable to plaintiffs for other reasons and the reasons for the liability are
                                D listed in Attachment MV-2f D as follows:




                                D      Does                        to                                                                4 __
                                                                                                                              Page _ _

                                                                                                                                            Paget of1
    Focm Apploved fol'Op!ional Uso                   CAUSE OF ACTION-Motor Vehicle.
      .blic:ial Cowlcl of Caliroma
PU),Pl-001(1) [Rev. January 1, 2007J
  Case 2:22-cv-01458-PA-MAA Document 1-2 Filed 03/03/22 Page 10 of 12 Page ID #:23



                                                                                                                              PLD.Pl-001(2)
SHORT TITLE:
TURNER V. EVENFLO

    SECOND                             . CAUSE OF ACTION-General Negligence                                              Page       5
                (number)                                                                                                          ----
    ATTACHMENTTO           @         Complaint   LJ    Cross-Complaint

    (Use a separate cause of action form for each cause of action.)

    GN-1. Plaintiff (name):    Plaintiff
            alleges that defendant (name):       Cenjay Clarence Davis, an individual; Neal Lavenora, an individual;



                     GlJ      Does    _I_ _ _ _        to         od'..___ Does 51 to 60
                                                            _10_ _....
            was the legal (proxl."'iiate) cau-se of damages to plaintiff. S-y the following acts or ouiissions to act, tiefem:iant
            negligently caused the damage to plaintiff
            on (data): November 17, 2016
            at (place;. At the intersection of Grand Avenue at 108th Street, Los Angeles, CA 90061

            (description of mesons for liability):
            Plaintiff refers to her First Cause of Action, hereof and by this reference makes it a part of her
            Second Cause of Actio~ as though set forth at length herein.
            Further, at said time and place Defendants and each of them so negligently and carelessly
            operated, owned, entrusted, maintained, repaired and managed their automobile such that it
            collided with the automobile in which Plaintiff Dalasia Robertson, a minor, was a passenger. As a
            direct and proximate result of said unlawful conduct, Defendants and each of them directly and
            proximately caused Plaintiff to sustain serious and subst.antial personal injuries and disabilities, as
            well as all other general, special and consequential damages, to which plaintiff is entitled by law.




                                                                                                                                         Page1 Of1
                                                                                                                        Code of CM! Pmcedum 425.12
                                       ,.CAUSE OF ACTION-General Negligence                                                      WNW.coa11nfo.ca.gav
   Case 2:22-cv-01458-PA-MAA Document 1-2 Filed 03/03/22 Page 11 of 12 Page ID #:24



                                                                                                                            PLD.Pl-001 (S)
 SHORTTITLE:                                                                              I.,._....,..
I. TURNER V EVENFLO                                                                       _

       _ _ _ _ _ _ CAUSE OF ACTION-Products Liability
     _TIIIRD                                                                                                     Page _ _6__
                   (number)
     ATTACHMENT TO @            Complaint O          Cross - Complaint
     (Use a separate cause of action form for each cause of action.)
     Plaintiff (name):   Plaintiff

                                November 17. 2016 .
     Pro4 L-1. On or about (datr~=                            plaiotif:f~s iojured bythEt1J)ll9}'Ving produtt:
     A child car seat and al of its component parts. which Plamti.U 1s 1mormed ana beueves, and therefor
     alleges was manufactured, assembl~ fabricated, distributed, sold and placed in the chain of consumer
     distribution by Defendants Evenflo Company, Inc., Evenflo Feeding Company, Inc., ~ and Does 11
     to 30, and Does 61 to 80.
     Prod. L-2. Each of the defendants kneW the product would be purchased and used without inspection for defects.
                  The product was defective when it left the control of each defendant The product at the time of injury
                 ~ing
                 []::j used in the manner intended by the defendants.
                 @ used in the manner that was reasonably foreseeable by defendants as invoMng a substantial danger not
                          readily apparent Adequate warnings of the d~ngerwere not given.
     Prod. L-3. Plaintiff was a
                   D      purchaser of the product                         @ user of the product.
                   D      bysl$nder to the use of the product                  D other (specify):

     PLAINTIFFS INJURY WAS THE LEGAL (PROXIMATE) RESULT OF THE FOLLOWING:
     Prod. L- 4. @  Count One-Strict liabUity of the following defendants who
                    a. @   manufactured or assembled the produd (names):
                                     Said Defendants and each of them.
                                         D     0oes ......_ _ _ _ _ to _ _ _ __
                         b. @      designed and manufactured. component pads supplied to ihe manufacturer (names):
                                     Said Defendants and each of them.
                                         D     Does _ _ _ _ _ to _ _ _ __
                         c. @        sold the product to the public (names):
                                     Said Defendants and each of them.
                                         D     0oes _ _ _ _ _ to _ _ _ __
      Prod. L-5. @        Count Two-Negligence of the follawing defendanls who owed a duty to plaintiff (names):
                             Said Defendants and each of them.
                                          D     Does _ _ _ _ _ to _ _ _ __
      Prod. L-6. @        Count Three-Breach of warranty by the following defendants (names):
                          Said Defendants and each of them.
                                          D     0oes _ _ _ _ _ to
                         a    [E:f who breached an implied warranty            -----
                         b. @     who breached a n ~ warranty whicb was
                                  0 written L!:J oral
      Prod. L-7.    D    The defendants who are liable to plaintiffs for other reasons and the reasons for the liability are
                         D listed in Atlachment-Prod. L-7 D as follows:

                                                                                                                                              e 1 or1
                                         CAUSE OF ACTION-Products Liability                                        CodeafCivi Proce<IUI'!!, {i425.12
                                                                                                                     ·       www.COl1lt1nfa.cs.ga'/
   Case 2:22-cv-01458-PA-MAA Document 1-2 Filed 03/03/22 Page 12 of 12 Page ID #:25




I. TURNER V. EVENFLO
 SHORT TITLE:                                                                              I~-
                                                                                           _
                                                                                                                              PLD-Pl-001 (5)




         _ _ _ _ _ CAUSE OF ACTION-Products Liability
     _FO_URTH                                                                                                     Page _ _8__
                   (number)
      ATTACHMENTTO @ Complaint O                      Cross-Complaint
      (Use a separate cause of action form for each cause of action.)
      Plaintiff (name):   Plaintiff

      Pro2d,..L-31•..0n qr.,.i!bout (date): 16il:-117-20161 f.                                        beli
                                                               plalntiffweii irJjured.by:ibeJollowing product..1
      A ul Fora 1-'0eus automo e and all o its component parts, wmcn P!atntin 1s informed anu             eves,
      and therefor alleges, was manufactured, assembled, fabricted. distributed. sold and Dlaced in the chain of
      consumer distribution by Defendants Ford Motor Company, Does 31 to 45, and Does 81 to 95.

      Prod. L-2. Each of the defendants knew the product would be purchased and used without inspection for defects.
                  The product was defective when it left the control of each defendant The product at the time of injury
                  ~ing
                  [Z] used In the manner intended by the defendams.
                  @       used in the manner that was reasonably foreseeable by defendants as invoMng a substantial danger not
                          readily apparent Adequate warnings of the danger were not given.
      Prod. L-3. Plalntiffwas a
                   D      purchaser of the product                              Duser of the product
                  @ bystandertothe use of the product.                     Ci!J  other (sp~):
                                                                                     person injured by said at1tomobile.
      PLAINTIFPS INJURY WAS THE LEGAL (PROXIMATE) RESULT OF THE FOLLOWING:
      Prod. L-4. @   Count One-Strict liability of the following defendan1s who
                     a. @   manufactured or assembled the product (names):
                                      Said Defendants and each of them.
                                          D     0oes _ _ _ _ _ to _ _ _ __
                          b. @        designed and manufactured component parts supplied to the manufacturer (names):
                                      Said Defendants and each of them.
                                          D     Does _ _ _ _ _ to _ _ _ __
                          c. @        sold the product to the public (nemes):
                                      Said Defendants and each of them.

                                          D     Does _ _ _ _ _ to _ _ _ __
      Prod. L-5. @         Count Two-Negligence of the foUowing defendants who owed a duty to plaintiff (names):
                           Said Defendants and each ofthem.
                                           D     Does _ _ _ _ _ to _ _ _ __
      Prod. L-6. @         Count Three-Breach of warranty by the following defendants (names):
                           Said Defendants and each of them .
                                 ./        D      Does..,.--,,--.,......--,-- to _ _ _ __
                          a   rn who breached an implied wananty
                          b. @     who breached an expl'U8"fiananty which was
                                   (2] written       C2roral
      Prod. L-7.   D      The defendants who are liable to plaintiffs for other reasons and the reasons for the liability are
                          D Usted In Attachment-Prod. L-7 D as foUows:

                                                                                                                                                e1of1
                                          CAUSE OF ACTION-Products Liability                                        Code af Clvl Proc:edllle, § 425.12 ·
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